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                      	       UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF CONNECTICUT

In re:                                              )
                                                    )          Case No.
ROBIN DELANEY,                                      )          12-21924 (ASD)
Debtor                                              )
                                                    )          Chapter 7
                                                    )
DONNA PARRIS,                                       )
Plaintiff,                                          )          Consolidated
v.                                                  )          Adversary Proceeding
ROBIN DELANEY,                                      )          No. 12-02078
Defendant.                                          )
                                                    )

In re:                                              )
                                                    )
CHARLES PAPPAS,                                     )
Debtor                                              )
                                                    )
                                                    )
DONNA PARRIS,                                       )
Plaintiff,                                          )
v.                                                  )
CHARLES PAPPAS,                                     )
Defendant.                                          )
                                                    )


                   LOCAL RULE 56(a)(1) STATEMENT IN SUPPORT OF
                   PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

         Pursuant to Rule 56(a)(1) of the Local Civil Rules of the United States District Court for

the District of Connecticut, as incorporated by Rule 1001-1(b) of the Local Rules of Bankruptcy

Procedure, Plaintiff Donna Parris states that there is no genuine issued to be tried as to the

following facts:

         1.     The plaintiff, Donna Parris, is a person with a disability as a result of her diabetes

mellitus, retinopathy, generalized sensory-motor polyneuropathy, bilateral ulnar neuropathy, and
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orthostatic hyptension. See Ex. A (Ruling on Plaintiff’s Mot. for Preliminary Injunction) at 1-2;

Ex. B (Parris Aff.) ¶ 5-6.

       2.      Parris’s disabilities cause frequent drops in blood pressure that lead to her loss of

consciousness, vision problems, significant nerve damage in her extremities, and chronic pain.

See Ex. A at 2; Ex. B ¶ 7.

       3.      As documented by her physician, Parris requires a 24-hour live-in aide to manage

her disabilities. See Ex. A at 2; Ex. B ¶ 43.

       4.      Parris owns her residence, a mobile home situated on a lot in a mobile home park

in Dayville, Connecticut. See id. ¶¶ 2-3.

       5.      She rents that lot from the Robin Delaney and Charles Pappas (collectively, the

“Defendants”), who own and manage the park through two wholly-owned limited liability

companies, Normandies Park LLC and Anna Alexis LLC. See id. ¶¶ 4.

       6.      Parris is a judgment-creditor of both Defendants. See Ex. C (Delaney Petition

Sched. D) at 1; Ex. D (Delaney Petition Sched. F) at 4; Ex. E (Pappas Petition Sched. D) at 2;

Ex. F (Pappas Petition Sched. F) at 3.

       7.      The Defendants acknowledge the existence of the judgment-debt in their

respective chapter 7 petitions.

       8.      According to their schedules, the debt is neither contingent nor even in dispute.

See Ex. C at 1; Ex. D at 4; Ex. E at 2; Ex. F at 3.

       9.      The judgment-debt arose from a civil rights action (the “Civil Rights Action”)

filed by Parris against the Defendants in the United States District Court for the District of

Connecticut, captioned Parris v. Pappas, et al., 3:10CV1128(WWE). See Ex. G (Civil Rights




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Action Docket) at 1-2; id. entry 122 at 13 (identifying Parris and the Defendants as parties and

entry of judgment).

       10.     The complaint in the Civil Rights Action (the “Civil Rights Complaint”) named as

defendants both Pappas and Delaney, as well as their two limited liability companies. See

generally Ex. H (Civil Rights Complaint).

       11.     The Civil Rights Complaint alleged that the Defendants failed to maintain the

septic system connected to Parris’s mobile home as required under the relevant lease. See id. ¶¶

9, 15-16.

       12.     The Civil Rights Complaint alleged the septic system failed on multiple

occasions, causing sewage to flood Parris’s lawn and back-up into her home. Id. ¶¶ 15-16.

       13.     The Civil Rights Complaint alleged when the Defendants declined to effect a

permanent repair, Parris sought the assistance of local health officials and eventually, the

Connecticut Department of Consumer Protection. Id. ¶¶ 19, 23-24.

       14.     The Civil Rights Complaint alleged the Defendants retaliated by threatening to

evict Parris from the mobile home park on the grounds that, among other things, an

“unauthorized tenant” resided in her home. Id. ¶¶ 25-26.

       15.     The Civil Rights Complaint alleged in response, Parris explained that she was

disabled and that the so-called unauthorized tenant was her medically-required live-in aide. Id. ¶

28.

       16.     The Civil Rights Complaint alleged Parris provided documentation from her

physician of her disability and need for a live-in aide, and requested whatever forms were

necessary to certify the lawful tenancy of her aide as a reasonable accommodation of her

disability. Id. ¶¶ 29-30.



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       17.     The Civil Rights Complaint alleged the Defendants declined to grant this

accommodation. Id. ¶ 29.

       18.     The Civil Rights Complaint alleged the next time Parris contacted local officials

about the persistent problems with her septic system, the Defendants’ counsel contacted her with

an ultimatum: either Parris agree to pay $300 each time the septic system required servicing or

the Defendants would evict Parris and her aide. Id. ¶¶ 33-34.

       19.     The Civil Rights Complaint alleged Parris refused the Defendants’ demand and

the Defendants promptly initiated an eviction action against her and the aide, again asserting that

her aide was an unauthorized tenant and that his presence violated Parris’slease of the lot at the

mobile home park. Id. ¶¶ 35-36.

       20.     The Civil Rights Complaint asserted five counts: (i) violations of the Fair Housing

Amendments Act, 42 U.S.C. §§ 3601 et seq.; (ii) violations of Connecticut’s Human Rights Act,

Conn. Gen. Stat. § 46a-64c; (iii) breach of contract; (iv) breach of the implied covenant of good

faith and fair dealing; and (v) violations of the Connecticut Unfair Trade Practices Act, Conn.

Gen. Stat. §§ 42-110b et seq. See generally id.

       21.     The Civil Rights Complaint was filed on July 20, 2010. See Ex. G Entry 1 at 3.

       22.     Upon filing, Parris’scounsel mailed the Defendants copies of the summons,

complaint, and a request to waive formal service. See Ex. I (Bennett-Smyth Aff.) ¶ 5.

       23.     On August 3, 2010, Attorney Thomas Lonardo (the Defendants’ attorney in the

eviction action against Parris) informed the Defendants in writing that he would not represent

them in the Civil Rights Action without a substantial retainer and warned them of the danger of

default if they were slow to respond. See Ex. J (Lonardo Letter dated Aug. 3, 2010).




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       24.     On August 18, 2010, Lonardo contacted Parris’s counsel and offered to settle the

Civil Rights Action. See Ex. K (Ruling on Mot. to Reopen) at 2; Ex. I ¶¶ 7-8.

       25.     After exchanging offers, the parties were unable to come to an agreement. See

Ex. L (Lonardo Letter dated Sept. 8, 2010).

       26.     On September 8, 2010, given that the Civil Rights Action had not been settled,

Attorney Lonardo warned the Defendants (again in writing) that they should obtain

representation because a judgment against them could result in a substantial award in

Parris’sfavor. See id.

       27.     On that same day, Lonardo confirmed for Parris’s counsel that he would not be

representing the Defendants in the Civil Rights Action. See Ex. K at 2; Ex. I ¶ 9.

       28.     Thereafter, Parris’s counsel emailed the Defendants to inquire again whether they

would agree to waive formal service of the Civil Rights Complaint and the Defendants never

responded. See id. ¶¶ 11-12; Ex. K at 2.

       29.     When Parris subsequently sought to serve the Defendants formally with the

summons and complaint, the Defendants attempted to evade service. Id. at 4.

       30.     The Defendants attempt to evade service of process in the Civil Rights Action

was detailed in the process server’s sworn proof of service, see Ex. M (Returned Summons &

Certificate of Service) at 2, which states:

       I arrived and knocked at the provided location of 241 Church Street, Brooklyn,
       CT. No one came to the door; however, I could hear people inside the home. I
       knocked again, and a child looked out the window to see who was there. I heard
       the child yell out, “Charlie! That serving guy is back!” Approximately 30
       seconds later, the same 13 year old child answered the door. I asked if Charles
       was there, and he responded, “No.” I then asked if his mother was there, and he
       stated, “No.” I knew he was lying as I heard him speak to whom I believe was
       Charles Pappis [sic] when he warned him of my arrival. I also heard a female in
       the house. The home is about 400 feet off the road, so I left the property and
       called my office. I spoke with our office manager who advised me to knock again

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           and abode the papers to the son. As I pulled in the driveway, I realized the
           electric gate at the end of the driveway had been closed behind me. While on the
           property, I observed a black Lexus with CT plates 170WFN, that I recognized as
           Robin Delany’s car from previous interactions. There was also a white pickup in
           the driveway.

           10/18/10 @ 7:27 PM the house had a few lights on inside and the fireplace was
           going. There was a white Ford truck with CT plates K40311. I knocked on the
           door several times with no answer. At this time. I left the papers abode.


           31.    After the Defendants were successfully served, they declined to appear and

defend. Id. at 2.

           32.    On November 19, 2010, the clerk entered the Defendants’ default. Id.

           33.    On December 2, 2010, the District Court rendered a default judgment in Parris’s

favor. Id.

           34.    The District Court scheduled a damages hearing and enjoined the Defendants

from evicting Parris from her home. See Ex. G Entry 21 at 4; Ex. A at 4.

           35.    On December 13, 2010, new counsel appeared in the Civil Rights Action on the

Defendants’ behalf and thereafter moved to set aside the default judgment. See Ex. G Entries 25,

27 at 5.

           36.    The District Court denied the Defendants’ motion, finding, among other things,

that: (i) the Defendants were aware of the suit; (ii) their professed ignorance regarding the

possibility of default was “disingenuous”; and (iii) their failure to appear and defend was the

result of “conscious decision or willfulness.” See Ex. K (Ruling on Mot. to Reopen) at 4.

           37.    Having declined to set aside the Defendants’ default, the Court proceeded with a

damages hearing. See generally id.; Ex. N, & O (Damages Hearing Tr. Days 1 & 2).

           38.    The hearing spanned two days and included the testimony of 10 witnesses. See

generally Ex. N & Ex. O (Damages Hearing Tr. Days 1 & 2).

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       39.     The Defendants were represented by able counsel for the duration of the hearing

and testified on their own behalf. See generally id.

       40.     There was evidence in the District Court’s record in the Civil Rights Action that

since at least March 2009, Parris began to experience problems with her septic tank, including:

sewage backing up into her home; sewage rising to the surface both underneath Parris’shome and

in her yard; the destruction of her property stored beneath her home; and an unbearable stench in

and around her home. See Ex. N at 139, 141-49, 152, 226-229; Ex. O at 11-12.

       41.     Expert testimony established that soil in Parris’s yard was contaminated by raw

sewage, which is a biohazard. Ex. N at 80-85, 93.

       42.     At the damages hearing, the Defendants did not dispute that under Parris’s lease

agreement, the mobile home park that they managed was obligated to keep all utilities in good

working condition, to maintain all water and sewer lines, and to effect related emergency repairs

within 72 hours. Ex. P (Lease Agreement – Damages Hearing Ex. 508) ¶¶ 5.5–5.7; see also Ex.

O 2 at 161 (Pappas concedes that maintenance of the septic system was a responsibility of the

mobile home park).

       43.     There was evidence in the District Court’s record that when the septic system

flooded Parris’s lawn or backed up into her home, she would consistently call the Defendants,

but they would not take her call and would only respond after three days or more, despite their

obligation to act within 72 hours and the availability of 24-hour service from the local septic

company. Ex. N at 150-51, 226, 229; Ex. O at 16; but see Ex. N at 230 (recounting one occasion

in which the system was pumped out within 72 hours).

       44.     Delaney admitted at the hearing that the septic system needed to be pumped out

approximately fourteen times over a two-year period. See Ex. O at 124-144.



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          45.      Pappas admitted at the hearing that he knew sewage had backed up into Parris’s

home. See id. at 176.

          46.      The Defendants admitted that rather than arranging for regularly-scheduled septic

pumping or some permanent solution, the Defendants’ practice was to wait for complaints from

Parris before taking action. See Ex. O at 155.

          47.      There was evidence in the District Court’s record that when Parris told Delaney

that the smell from the overflowing septic system made Parris violently ill and forced her from

her home to a hotel on multiple occasions, Delaney responded, “You’ll just have to put up with

it. We have 72 hours before we have to send anyone out to pump you out.” See Ex. N at 143 see

also id. at 230.

          48.      On October 26, 2009, when a Department of Health official inquired about

complaints Parris made about the septic system, Delaney claimed that the Defendants were in the

process of connecting Parris’s unit to municipal sewer lines. See Ex. Q (Health Dep’t Records –

Damages Hearing Ex. 501) at 6.

          49.      Parris’s unit would not be connected to sewer lines until 17 months later. See Ex.

Q (Health Dep’t Records – Damages Hearing Ex. 501) at 6; Ex. N at 1 (hearing commenced on

March 24, 2011); Ex. O at 41 (sewer lines connected on approximately March 30, 2010).

          50.      On November 2, 2009, a health official conducted a follow-up site visit. See Ex.

Q at 6.

          51.      By a letter dated November 2, 2009, the Defendants’ former attorney, Lonardo,

threatened to evict Parris. See Ex. R (Lonardo Letter dated Nov. 2, 2009 – Damages Hearing Ex.

517).




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       52.     Two weeks before the damages hearing, a Department of Health official

conducted another site inspection and discovered sewage overflowing from the septic system

onto the ground. See Ex. N at 1 (hearing commenced on March 24, 2011); Ex. O at 97, 107-08

(testimony concerning site visit on March 11, 2011); Ex. S, T, & U (inspection log and

photographs of sewage on the ground – Damages Hearing Ex. 9, 11 & 12).

       53.     During that inspection, when a health official directed Delaney to have the system

pumped out because overflowing sewage was a health code violation, the Defendants waited

three days to do so. See Ex. O at 109-111; Ex. V (Email from Dep’t of Health – Damages

Hearing Ex. 10).

       54.     The Defendants arranged to have Parris’s unit connected to municipal sewer lines

after the damages hearing had commenced. See Ex. N at 1 (hearing commenced on March 24,

2011); Ex. O at 41 (sewer lines connected on approximately March 30, 2010).

       55.     Pappas admitted at the hearing that he had worked as a contractor for 30 years and

had experience installing and maintaining septic systems. See Ex. O at 160-61.

       56.     Delaney admitted at the hearing that she had destroyed evidence, specifically her

notes, regarding problems with the septic system. See Ex. N at 1 (hearing commenced on March

24, 2011); Ex. O at 150-51 (notes destroyed on approximately March 14).

       57.     There was evidence in the District Court’s record that in November 2009, Parris

informed Lonardo (the Defendants’ prior counsel) that she was disabled and required the

assistance of a live-in medical aid, and that in response, Lonardo told Parris that neither he, nor

the Defendants, believed her. See Ex. W (Parris Letter Postmarked Nov. 20, 2009 –Damages

Hearing Ex. 504); Ex N at 175, 184, 214; Ex. O at 25.




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         58.     At the hearing, Lonardo admitted that there was no reason to doubt that Parris was

disabled. See Ex. O at 26.

         59.     There was evidence in the District Court’s record that Parris requested that the

Defendants permit her live-in aide to reside with her and provided them with a letter from her

physician explaining that this was medically necessary. Through the date of the damages

hearing (and through the present), the Defendants never agreed to this accommodation. See Ex.

N at 137; Ex. B ¶ 43 & Ex. 5 (Dr. Carol Levitt Letter dated Dec. 9, 2009 – Exhibit to Parris

Aff.).

         60.     There was evidence in the District Court’s record that the Defendants attempted to

use Parris’s need for an aide as leverage, threatening to evict her (on the basis of her aid’s

presence) if she refused to cover the cost of servicing the malfunctioning septic system. See Ex.

N at 129, 192.

         61.     The Defendants attempted to evict Parris because of, among other things, the

presence of her medically-necessary live-in aide. See Ex. A (Ruling on Plaintiff’s Mot. for

Preliminary Injunction) at 4.

         62.     The Defendants had access to the advice of Attorney Lonardo, who testified that

he had nearly forty years of legal experience and specialized in housing law related to mobile

home evictions, collections, and sales. See Ex. O at 22-23.

         63.     Parris’s medical records, as well as testimony from her treating physician, her

live-in aide, and Parris herself, provided that she suffered from nausea, anxiety, exhaustion,

insomnia, and depression, which the District Court found to be the result of the Defendants’

conduct. See Ex. X, Y, Z & AA (Parris medical records –Damages Hearing Ex. 1, 2, 3 & 4); Ex.

N at 28-29, 32, 127, 140-41; Ex. O at 6-9; Ex. AB (Damages Ruling) at 9-10.



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       64.       At the conclusion of the damages hearing, the District Court reserved judgment,

but ordered the Defendants to make a disclosure of their assets to Parris and suggested that the

Defendants agree not to dissipate any assets. Ex. O at 205-08.

       65.       Upon Parris’s motion, the District Court entered an order providing that:

“Defendants will not dissipate any existing assets during the pendency of this action.” Ex. G

Entry 65 at 8.

       66.       After the damages hearing, Parris moved for sanctions and prejudgment

attachment of the Defendants’ assets, claiming        that the Defendants had failed to make a

complete disclosure of assets and were violating the District Court’s non-dissipation order, and at

the resultant hearing on that motion, the Defendants appeared, testified, and were represented by

counsel. See generally Ex. AC ( PJR Hearing Tr.).

       67.       There was evidence in the District Court’s record that the Defendants failed to

disclose all assets as ordered by the District Court. See Ex. AC at 44-45, 50-52, 86-87.

       68.       There was evidence in the District Court’s record that while under the non-

dissipation order, the Defendants were attempting to sell certain of their assets. Id. at 45-46.

       69.       Pappas sold an undisclosed apartment building on the eve of the prejudgment

remedy hearing. See Ex. AG (Sanctions Hearing Transcript) at 62-64.

       70.       Certain assets disclosed by the Defendants were the subject of tax auctions. Id. at

53.

       71.       Certain assets disclosed by the Defendants were encumbered by mechanics’ liens

that had been entered within minutes of each other by two separate companies whose principals

had been informed of pendency of the Civil Rights Action by Pappas. Id. at 70-74.




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          72.   There was evidence in the District Court record that after the damages hearing,

the principal telephone number that Normandies Park tenants used to contact the Defendants was

disconnected; stagnant water accumulated on the grounds; and trash collection was inconsistent,

which attracted animals to the site. See Ex. AD (Parris PJR Aff.) ¶¶ 8-13; Ex. AE (Fredrickson

Aff.) ¶¶ 6-8; Ex. AF (Demars Aff.) ¶¶ 7, 9, 11-13.

          73.   At the conclusion of the prejudgment remedy hearing, the District Court granted

Parris a prejudgment remedy in the amount of $300,000 and ordered the Defendants to make a

complete disclosure of assets. Ex. AC at 100.

          74.   On January 4, 2012, the District Court issued its damages ruling (the “Damages

Ruling”), which recommended that Parris be awarded $112,407 in compensatory damages and

$150,000 in punitive damages. See generally Ex. AB (Damages Ruling).

          75.   On January 4, 2012, the District Court awarded Parris her attorneys’ fees in the

amount of $87,392.50 (the “First Attorney Fee Award”). See Ex. G Entry 113 at 12.

          76.   Over the Debtor’s objections, the District Court (Eginton, D.J.) approved and

adopted in full both the Damages Ruling and First Attorney Fee Award, and directed the clerk to

enter judgment in Parris’s favor. See id. Entries 114, 116, 120-21 at 12-13; Ex. AH (Order

Adopting Damages Ruling) at 1.

          77.   Final judgment was rendered on February 10, 2012. Ex. AI (Judgment).

          78.   In its Damages Ruling, the District Court concluded, among other things, that

Parris met her burden of proof as to punitive damages under the Fair Housing Amendments Act.

See Ex. AB (Damages Ruling) at 22 (“the Court finds that punitive damages are warranted

here”).




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       79.     In its Damages Ruling the District Court ruled that the “defendants acted

willfully, maliciously and/or with reckless disregard for plaintiff’s FHA rights when they failed

to accommodate her disability.” Id.

       80.     The District Court found that “after plaintiff provided proof of her medical

disability, defendants continued eviction proceedings until they were ordered by the Court to

withdraw the action.” Id.

       81.     The District Court found that the “Defendants were dealing with a tenant who had

significant health issues and who was vulnerable emotionally and financially.            The record

reflects they tried to take advantage of her for their own financial benefit.” Id. at 24-25.

       82.      The District Court found that the Defendants “inflicted emotional and physical

harm” to Parris and that their “conduct toward Ms. Parris was highly reprehensible.” Id at 22.

       83.     In awarding punitive damages, the District Court also stated that “despite a court-

ordered agreement to refrain from dissipating assets,” the Defendants (i) “reduced the value of

the disclosed properties by failing to pay taxes”; (ii) listing “properties for sale”; and (iii) “took

steps to further encumber the property by incurring expenses for work by outside contractors

whom they did not pay, resulting in mechanics liens.” Id. at 22-23.

       84.     In addressing Parris’s separate request for damages under CUTPA, the District

Court stated that Parris had “established that defendants acted willfully, maliciously and/or with

reckless disregard” and further, found that Defendants’ conduct was “unfair, offends public

policy, and caused injury” to Parris. Id. at 29, 27.

       85.     To avoid a double recovery, the District Court declined to grant an additional

award of punitive damages under CUTPA. Id. at 29.




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         86.   In the Damages Ruling, the District Court used the he terms “willful” and

“intentional” interchangeably. See Ex. AB(Damages Ruling) at 18 (describing the requirement

of “intentional discrimination” as a prerequisite to a punitive damages award); id. at 22

(awarding punitive damages because of proof that Defendants “acted willfully . . . when they

failed to accommodate [Parris’s] disability”).

         87.   On February 7, 2012, Parris moved to compel the Defendants to comply with

asset-related discovery requests. See Ex. G Entry 119 at 13.

         88.   On February 15, 2012, the District Court granted that motion. See id. Entry 123

at 13.

         89.   Parris then moved for sanctions in connection with the Defendants’ conduct in

post-judgment discovery. See id. Entry 138 at 15.

         90.   On March 27, 2012, the District Court granted that motion, finding “on the record

that it was ‘clear’ defendants had not made a full disclosure and offered no legitimate

explanation for failing to follow the Court’s order.” See Ex. AJ (Order on Sanctions Mot.) at 1.

         91.   The District Court later ordered, among other things, that Parris was “entitled to

attorneys’ fees not previously awarded that have been incurred in seeking a complete disclosure

of assets, in attempting to prevent the dissipation of assets, and in post-judgment discovery.” Id.

at 8.

         92.   The District Court further ordered that Parris’s “counsel shall submit affidavits

detailing the time they have spent on or before September 1, 2012. Thereafter, plaintiff’s

counsel shall submit a Supplemental Motion for Attorneys’ Fees and Costs with additional

affidavits and time records every six months until collection is complete.” Id. Before Parris’s

counsel could comply, the Defendants filed their respective chapter 7 petitions.



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Dated: February 1, 2013

                                      DONNA PARRIS, PLAINTIFF



                                      By:       /s/ Michael J. Coolican
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